       Case: 1:21-cv-01973 Document #: 1 Filed: 04/13/21 Page 1 of 7 PageID #:1




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 Shaunta Piemonte as Next Friend of the            )
 minors C.P., G.P., and P.P., and                  )
 Christopher Piemonte,                             )     Case No.: 19 CV 7474
                                                   )
       Plaintiffs,                                 )     COMPLAINT FOR VIOLATION OF
                                                   )     CIVIL RIGHTS
                v.                                 )
                                                   )
 The Village of Carol Stream, and Carol            )
 Stream Police Officers Jason Eagan,               )
 Jonathan Grey, Alex Freer, Matthew                )
 Rudelich, James Busch, Philip Heck, and                 JURY DEMANDED
 Thomas Andrejevic,

       Defendants.

                                  JURISDICTION AND VENUE

        1.      This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343 and 1331 and 1367.

        2.      Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                              PARTIES

        3.      At all times herein mentioned, Plaintiff Shaunta Piemonte was and is a citizen of the

United States, and was within the jurisdiction of this court.

        4.      Shaunta Piemonte is the mother and a custodial parent of the minors C.P., G.P., and

P.P.
       Case: 1:21-cv-01973 Document #: 1 Filed: 04/13/21 Page 2 of 7 PageID #:2




        5.      At all times herein mentioned, Plaintiff C.P. was a minor born in 2004, was and is a

citizen of the United States, and was within the jurisdiction of this court. Shaunta Piemonte is

acting as his next friend.

        6.      At all times herein mentioned, Plaintiff G.P. was a minor born in 2006, was and is a

citizen of the United States, and was within the jurisdiction of this court. Shaunta Piemonte is

acting as his next friend.

        7.      At all times herein mentioned, Plaintiff P.P. was a minor born in 2008, was and is a

citizen of the United States, and was within the jurisdiction of this court. Shaunta Piemonte is

acting as his next friend.

        8.      At all times herein mentioned, Plaintiff Christopher Piemonte was a minor born in

December 2001.

        9.      At all times herein mentioned, Defendants Jason Eagan (“Eagan”), Jonathan Grey

(“Grey”), Alex Freer (“Freer”), Matthew Rudelich (“Rudelich”), James Busch (“Busch”), Philip

Heck (“Heck”), and Thomas Andrejevic (“Andrejevic”) were employed by the Village of Carol

Stream Police Department as police officers, and were acting under color of state law and as the

employees, agents, or representatives of the Village of Carol Stream Police Department. These

Defendants are being sued in their individual capacity.

        10.     At all times herein mentioned, the Village of Carol Stream was a political division

of the State of Illinois, existing as such under the laws of the State of Illinois. At all relevant

times, the Village of Carol Stream maintained, managed, and/or operated the South Holland

Police Department. At all relevant times the Village of Carol Stream was the employer of the

individual defendant.




                                                                                                      2
       Case: 1:21-cv-01973 Document #: 1 Filed: 04/13/21 Page 3 of 7 PageID #:3




                                   FACTUAL ALLEGATIONS

       11.     On or about March 18, 2019, the Plaintiffs were lawfully located at 1159 Edington

Lane in the Village of Carol Stream, County of DuPage, State of Illinois.

       12.     At that place and time and place Defendants Eagan, Grey, Freer, Rudelich, Busch,

Heck, and/or Andrejevic forcibly entered Plaintiffs’ home.

       13.     Defendants Eagan, Grey, Freer, Rudelich, Busch, Heck, and Andrejevic did not

possess a warrant to enter or search Plaintiffs’ home.

       14.     Defendants Eagan, Grey, Freer, Rudelich, Busch, Heck, and Andrejevic did not have

legal cause enter or search Plaintiffs’ home without a warrant.

       15.     During the forcible entry and search of plaintiffs’ home Defendants Eagan, Grey,

Freer, Rudelich, Busch, Heck, and/or Andrejevic caused unnecessary and unreasonable property

damage.

       16.     Defendants Eagan, Grey, Freer, Rudelich, Busch, Heck, and/or Andrejevic placed

handcuffs on C.P.

       17.     There was no legal cause for Defendants Eagan, Grey, Freer, Rudelich, Busch,

Heck, and/or Andrejevic to seize and handcuff C.P.

       18.     By reason of the above-described acts and omissions of Defendants Eagan, Grey,

Freer, Rudelich, Busch, Heck, and/or Andrejevic Plaintiffs sustained injuries, including but not

limited to, humiliation and indignities, and suffered great mental and emotional pain and suffering

all to their damage in an amount to be ascertained.

       19.     The aforementioned acts of Defendants Eagan, Grey, Freer, Rudelich, Busch, Heck,

and/or Andrejevic were willful, wanton, malicious, oppressive and done with reckless indifference




                                                                                                      3
       Case: 1:21-cv-01973 Document #: 1 Filed: 04/13/21 Page 4 of 7 PageID #:4




to and/or callous disregard for Plaintiffs’ rights and justify the awarding of exemplary and punitive

damages in an amount to be ascertained according to proof at the time of trial.

        20.     By reason of the above-described acts and omissions of Defendants Eagan, Grey,

Freer, Rudelich, Busch, Heck, and/or Andrejevic, Plaintiffs were required to retain an attorney to

institute, prosecute and render legal assistance to them in the within action so that he might

vindicate the loss and impairment of his rights. By reason thereof, Plaintiffs requests payment by

Defendants, of a reasonable sum for attorney’s fees pursuant to 42 U.S.C. Section 1988, the Equal

Access to Justice Act or any other provision set by law.

                                        COUNT I
  Plaintiffs Against Defendants Eagan, Grey, Freer, Rudelich, Busch, Heck, Andrejevic For
                          UNLAWFUL SEARCH AND SEIZURE

        21.     Plaintiffs hereby incorporate and reallege paragraphs one (1) through twenty (20)

hereat as though fully set forth at this place.

        22.     By reason of Defendants’ conduct, Plaintiff was deprived of rights, privileges and

immunities secured to them by the Fourth and/or Fourteenth Amendments of the Constitution of

the United States and laws enacted thereunder.

        23.     The Defendants’ entry and search resulting in property damage to Plaintiffs’

home was in violation of Plaintiffs’ Constitutional Rights and not authorized by law. The seizure

of Plaintiff C.P. and placing him in handcuffs was violation of C.P.’s Constitutional Rights and

not authorized by law. These acts were in violation of Plaintiffs’ Fourth and/or Fourteenth

Amendment rights. Therefore, Defendants are liable to Plaintiff pursuant to 42 U.S.C. § 1983.




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       Case: 1:21-cv-01973 Document #: 1 Filed: 04/13/21 Page 5 of 7 PageID #:5




                                         COUNT II
  Plaintiffs C.P., G.P., and P.P. Against Defendants Eagan, Grey, Freer, Rudelich, Busch,
                      Heck, Andrejevic, and The Village of Carol Stream
                                             For
                                         TRESPASS

       24.      Plaintiffs hereby incorporate and realleges paragraphs one (1) through twenty (20)

hereat as though fully alleged at this place.

        25. Defendants Eagan, Grey, Freer, Rudelich, Busch, Heck, and/or Andrejevic, committed

the tort of trespass when they entered Plaintiffs’ residence without permission or authority.

       26.   The Village of Carol Stream is liable to Plaintiffs for the acts of Defendants Eagan,

Grey, Freer, Rudelich, Busch, Heck, and/or Andrejevic pursuant to the doctrine of respondeat

superior.

       27.    As a result of these acts and/or omissions Plaintiffs were damaged, and Defendants

Eagan, Grey, Freer, Rudelich, Busch, Heck, and/or Andrejevic, and the Village of Carol Stream

are all liable under the supplemental state law claim of Trespass.



                                   COUNT III
                  INDEMNIFICATION PURSUANT TO 745 ILCS 10/9-102
                 AGAINST DEFENDANT VILLAGE OF CAROL STREAM

       28.      Plaintiff re-alleges and incorporates the allegations of paragraphs 1 through

twenty-seven (27) hereat as though fully set forth at this place.

       29.      The acts of Defendants Eagan, Grey, Freer, Rudelich, Busch, Heck, and/or

Andrejevic were committed in the scope of their employment with the Defendant Village of

Carol Stream.

       30.      Pursuant to the Illinois Tort Immunity Act, 745 ILCS 10/9-402, Defendant

Village of Carol Stream is liable for any judgments for compensatory damages in this case




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      Case: 1:21-cv-01973 Document #: 1 Filed: 04/13/21 Page 6 of 7 PageID #:6




arising from the actions of Defendants Eagan, Grey, Freer, Rudelich, Busch, Heck, and/or

Andrejevic.



       WHEREFORE, the Plaintiffs, by and through their attorneys, ED FOX & ASSOCIATES,

requests judgment against the Defendants as follows:

       1.      That the Defendants be required to pay Plaintiffs’ general damages, including
               emotional distress, in a sum to be ascertained;

       2.      That the Defendants be required to pay Plaintiffs’ special damages;

       3.      That the Defendants be required to pay Plaintiffs’ attorney’s fees pursuant to Section
               1988 of Title 42 of the United States Code, the Equal Access to Justice Act or any
               other applicable provision;

       4.      That the Defendants other than the Village of Carol Stream be required to pay punitive
               and exemplary damages in a sum to be ascertained;

       5.      That the Defendants be required to pay Plaintiffs’ costs of the suit herein incurred; and

       6.      That Plaintiffs have such other and further relief as this Court may deem just and
               proper.



                                               BY:     s/Garrett Browne

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                                                                                                      6
Case: 1:21-cv-01973 Document #: 1 Filed: 04/13/21 Page 7 of 7 PageID #:7




         PLAINTIFFS HEREBY REQUESTS A TRIAL BY JURY

                                BY:    s/Garrett Browne

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